Case 3:06-cr-30160-DWD     Document 92     Filed 05/01/07   Page 1 of 2   Page ID #163




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS


 UNITED STATES OF AMERICA,                 )
                                           )
 Plaintiff,                                )
                                           )
 vs.                                       )
                                           )
 ERIC LAVERGNE                             )
                                           )
                                           )
 Defendant.                                )                No. 06-CR-30160


                                       ORDER

 HERNDON, District Judge:

              Before the Court is a motion to continue trial submitted by the

 Government. (Doc. 83.) Defendant Brown has been incarcerated in Texas for a State

 of Texas felony drug offense and a pending felony escape charge. Due to Defendant

 Brown’s unavailability in this District and the fact that no motion for severance has

 been filed by Defendant Lavergne (the remaining Defendant in this case), the

 Government requested in its motion to continue (Doc. 83) that trial in this matter be

 continued and that a new trial date be set for Defendant Lavergne upon the arrival

 and initial appearance of Defendant Brown. The Court agreed and found that

 pursuant to 18 U.S.C. § 3161(h)(8)(A), the ends of justice served by the granting of

 such a continuance outweighed the interests of the public and Defendant Lavergne

 in a speedy trial because a single trial is favored to preserve the resources of the

 Court and to promote efficiencies, particularly when no motion to sever has been

                                          1
Case 3:06-cr-30160-DWD     Document 92    Filed 05/01/07   Page 2 of 2   Page ID #164




 filed and the period of delay is reasonable. 18 U.S.C. § 3161(h)(7). Therefore, the

 Court GRANTS the Government’s motion to continue (Doc. 83). Defendant Brown

 was arraigned yesterday, April 30, 2007, and his trial was set for June 18, 2007. In

 accordance with this schedule, the Court continues the trial scheduled for April 23,

 2007 for Defendant Lavergne until June 18, 2007 at 9:00 a.m.. The time from the

 date the Government’s motion was raised, April 19, 2007, until the date on which the

 trial is rescheduled, June 18, 2007, is excludable time for the purposes of speedy

 trial.

             IT IS SO ORDERED.

             Signed this 1st day of May, 2007.

                                                      /s/     David RHerndon
                                                      United States District Judge




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